Case 21-40009-JMM       Doc 26     Filed 02/18/21 Entered 02/18/21 16:18:02           Desc Main
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   Attorney for the Debtor


                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF IDAHO


   Fred Flores                          )          Case # 21 40009
                                                           -




                                        )



                                        )
                                                   AMENDED OBJECTION TO MOTION
                                        )          TO REMOVE AUTOMATIC STAY
                 Debtor                 )
                                        )
                                        )

          COMES NOW, the Debtor by and through his attorney of record, with his

   objection to R. Sam Hopkins Trustee's motion to remove the automatic stay as follows:

          1.     Debtor filed for protection under chapter 7 of the bankruptcy code and

   claimed a home owner's exemption of $175000.00. The Debtor is entitled to the

   exemption because he lives in the home.


          Dated this 18 th day of February, 2021


                 /s/ Andre Lawson

                  Andre Lawson




   AMENDED OBJECTION AND NOTICE OF HEARING ON MOTION TO REMOVE
   AUTOMATIC STAY-1
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                                         )
                                                 Case # 21-40009
                                          )



                                          )
                                                 NOTICE OF HEARING ON OBJECTION
   Fred Flores,                          )       TO REMOVE AUTOMATIC STAY
                                         )
                  Debtor                 )
                                         )

          Please take notice that the Debtor has scheduled a hearing on his objection to

   Trustee's motion for relief from automatic stay, before the United State Bankruptcy

   Court, Via telephone before the Honorable Joseph M. Meier, on March 9 th 2021 at

   the hour of 9:30 a.m. Parties shall call into the number below at least (10) minutes prior

   to the start of the hearing. The Deputy clerk will take roll, after which your phone should

   be placed on mute until your case is called. Once you are finished with your case(s), you

   may hang up. Judge Meier's conference number: 1-877-336-1829
                 Access code:         5781287
                 Security code:        1234#
                                                    Dated this 18 th day of February 2021

                                                        /s/ Andre Lawson

                                                         Andre Lawson
                                                         Attorney for Debtor

   AMENDED OBJECTION AND NOTICE OF HEARING ON MOTION TO REMOVE
   AUTOMATIC STAY-2
